Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 1 of 19



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                  CASE NO.: 16:16-CV-61643

     KATHRYN M. RHODES, an individual,

            Plaintiff,

     vs.

     THE FAIR CREDIT LAW GROUP, LLC,
     a Florida limited liability company, JOEL
     A. BROWN, an individual and ROBERT
     A. FRIEDMAN, an individual, et al.,

           Defendants.
     ____________________________________/

                  DEFENDANTS THE FAIR CREDIT LAW GROUP, LLC,
                    JOEL A. BROWN AND ROBERT A. FRIEDMAN’S
                         MOTION TO DISMISS COMPLAINT

                                                 By: s/ Allison L. Friedman
                                                     ALLISON L. FRIEDMAN, ESQ.
                                                     FLA. BAR NO. 0055336
                                                     ALLISON L. FRIEDMAN, P.A.
                                                     20533 Biscayne Boulevard, Suite 4-435
                                                     Aventura, Florida 33180
                                                     (305) 905-2679 (Telephone)
                                                     (305) 692-9387 (Facsimile)
                                                      Ralfriedman@hotmail.com
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 2 of 19




                                            TABLE OF CONTENTS

  Tables of Citations.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ii

  Introduction. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

  Memorandum of Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

           I.        The Complaint should be dismissed as to the individual Defendants
                     because Plaintiff has not alleged sufficient grounds to pierce the
                     corporate veil.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

           II.       The Complaint fails to state a cause of action in Counts I and II for
                     violation of the Federal Credit Repair Organizations Act and the Florida
                     Credit Service Organizations Act.. . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

           III.      The Complaint fails to state a cause of action in Counts III and IV for
                     violation of the Telemarketing Sales Rules... . . . . . . . . . . . . . . . . . . . 8

           IV.       Counts V though IX of the Complaint should be dismissed based
                     upon the contradictory exhibits attached to the Complaint... . . . . . . 10

           V.        Count X of the Complaint should be dismissed because Plaintiff fails
                     to state a cause of action for civil conspiracy.. . . . . . . . . . . . . . . . . . 12

           VI.       The Complaint should be dismissed for a more definite statement.. 13

  Conclusion. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14

  Certificate of Service.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15




                                                               -i-
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 3 of 19




                                             TABLE OF CITATIONS

  Cases:

  Associated Builders, Inc. v. Ala. Power Co., 505 F.2d 97 (5th Cir. 1974).. . . . . 2, 8

  Bryson v. Berges, No. 14-62323 (S.D. Fla. 2015). . . . . . . . . . . . . . . . . . . . . . . . . . 7

  Burnet v. Clark, 287 U.S. 410 (1932). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

  Casa Inv. Co., Inc. v. Nestor, 8 So.3d 1219 (Fla. 3d DCA 2009). . . . . . . . . . 5, n.1

  Cellco P'ship v. Plaza Resorts Inc., No. 12-81238 (S.D. Fla. 2013). . . . . . . . 13-14

  Cummings v. Palm Beach County, 642 F.Supp. 248 (S.D.Fla.1986). . . . . . . . . . . . 5

  F.T.C. v. RCA Credit Serv., LLC, 727 F.Supp.2d 1320 (M.D. Fla. 2010). . . . . . 6-7

  Griffin Industries, Inc. v. Irvin, 496 F.3d 1189 (11th Cir. 2007). . . . . . . . 2, 7, 9, 12

  Jackson v. Alexander, 706 So.2d 364 (Fla. 1st DCA 1998). . . . . . . . . . . . . . . 6, n.1

  Jackson v. Bellsouth Telecomm., 372 F.3d 1250 (11th Cir. 2004). . . . . . . . . . 1-2, 5

  Julin v. Chiquita Brands Int'l, Inc. (In re Chiquita Brands Int'l, Inc. Alien Tort
  Statute & Shareholder Derivative Litig.), 690 F. Supp.2d 1296 (S.D. Fla. 2010). . .
  . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12-13,13

  Linden v. Auto Trend, Inc., 923 So.2d 1281 (Fla. 4th DCA 2006). . . . . . . . . . 6, n.1

  R/V Beacon, LLC v. Underwater Archeology & Exploration Corp., No. 14-CIV-
  22131 (S.D. Fla. 2014). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 3-4

  Super Vision Intern. v. Mega Intern. Commercial, 534 F.Supp.2d 1326 (S.D. Fla.
  2008). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

  U.S. v. JBA Motorcars, Inc., 839 F. Supp. 1572 (S.D. Fla. 1993). . . . . . . . . . . . . . 4


                                                                 ii
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 4 of 19




  U.S. Bank Nat'l Ass'n v. Capparelli, No. 13-80323 (S.D. Fla. 2014).. . . . . . . 13-14

  Wilchombe v. Teevee Toons, Inc., 555 F.3d 949 (11th Cir. 2009). . . . . . . . . . . . 2, 5

  Statutes:

  Federal Credit Repair Organizations Act. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6, 7

  Florida Credit Service Organizations Act. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6, 7

  Florida Deceptive and Unfair Trade Practices Act. . . . . . . . . . . . . . . . . . . . . . . . . . 8

  Telemarketing and Consumer Fraud and Abuse Prevention Act. . . . . . . . . . . . . . . 8

  Codes:

  Telemarketing Sales Rules. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

  16 C.F.R. §310.2(o). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8-9

  Rules:

  Federal Rule of Civil Procedure 12(b)(6). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1




                                                           iii
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 5 of 19




           Defendants, FAIR CREDIT LAW GROUP, LLC (“FCLG”), JOEL A.

     BROWN (“BROWN”) and ROBERT A. FRIEDMAN (“FRIEDMAN”), file

     this, their Motion to Dismiss Complaint pursuant to Rule 12(b)(6) of the

     Federal Rules of Civil Procedure and state as follows:

                                   INTRODUCTION

           Plaintiff’s Complaint should be dismissed pursuant to Rule 12(b)(6) of

     the Federal Rules of Civil Procedure for failing to state a cause of action. Even

     in the light most favorable to Plaintiff, the Complaint woefully lacks the

     requisite elements necessary to support the causes of action set forth therein.

     Further, Plaintiff’s own exhibits attached to the Complaint contradict her

     allegations within the Complaint requiring dismissal.

                             MEMORANDUM OF LAW

           In order to survive a motion to dismiss under Federal Rule of Civil

     Procedure 12(b)(6), a plaintiff must allege “‘enough factual matter (taken as

     true) to suggest’ the required element.” Super Vision Intern. v. Mega Intern.

     Commercial, 534 F.Supp.2d 1326, 1330 (S.D. Fla. 2008) (citing Watts v. Fla.

     Int'l Univ., et al., 495 F.3d 1289, 1295 (11th Cir. 2007)). The plaintiff’s

     pleading must create “plausible grounds to infer” the causes of action. Id.

     (citation omitted). “[C]onclusory allegations, unwarranted deductions of facts

     or legal conclusions masquerading as facts will not prevent dismissal.” Jackson
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 6 of 19




     v. Bellsouth Telecomm., 372 F.3d 1250, 1263 (11th Cir. 2004) (citing Oxford

     Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002)).

     Accordingly, mere “formulaic recitation of the elements of a cause of action

     will not do.” Wilchombe v. Teevee Toons, Inc., 555 F.3d 949, 958 (11th Cir.

     2009) (citation omitted).

           In the present case, Plaintiff’s Complaint lacks any actual substantive

     allegations and instead strings along a number of unrelated accusations and

     legal conclusions and as such should be dismissed. In addition, the exhibits to

     the Complaint contradict Plaintiff’s own allegations also requiring dismissal.

     See Griffin Industries, Inc. v. Irvin, 496 F.3d 1189, 1206 (11th Cir. 2007);

     Associated Builders, Inc. v. Ala. Power Co., 505 F.2d 97, 100 (5th Cir.1974)

     (“If the appended document, to be treated as part of the complaint for all

     purposes under Rule 10(c), Fed.R.Civ.P., reveals facts which foreclose

     recovery as a matter of law, dismissal is appropriate.” (citation omitted)). As

     a result, Plaintiff’s Complaint must be dismissed as demonstrated herein.

     I.    The Complaint should be dismissed as to the individual Defendants
           because Plaintiff has not alleged sufficient grounds to pierce the
           corporate veil.

           Plaintiff’s Complaint contains ten (10) causes of action pled jointly

     against the corporate Defendant and individual Defendants in complete

                                           2
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 7 of 19




     disregard of Florida law which recognizes that a corporate entity and its

     individual owners are separate legal entities existing independently of one

     another. See R/V Beacon, LLC v. Underwater Archeology & Exploration

     Corp., No. 14-CIV-22131, *6 (S.D. Fla. 2014); Burnet v. Clark, 287 U.S. 410,

     415 (1932) ("A corporation and its stockholders are generally to be treated as

     separate entities").   In the present case, all documents attached to the

     Complaint demonstrate that Defendant, FCLG, contracted directly with

     Plaintiff. Notwithstanding, Plaintiff has instituted suit against the principals,

     Defendants, BROWN and FRIEDMAN, on all counts including breach of

     contract. Interestingly enough, when Plaintiff’s counsel was asked by the

     undersigned why the individuals were included, his response was “because

     they are the ones’ with the assets.” However, Florida law protects corporate

     owners for the acts of the corporation unless one is able to pierce that corporate

     veil. R/V Beacon, LLC, No. 14-CIV-22131 at 6.

           In order to set forth a basis for this Court to pierce the corporate veil and

     find the individual Defendants liable, Plaintiff must allege as follows:

                  (1) the shareholder dominated and controlled the
                  corporation to such an extent that the corporation's
                  independent existence, was in fact non-existent and the
                  shareholders were in fact alter egos of the corporation;
                  (2) the corporate form must have been used fraudulently or

                                             3
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 8 of 19




                  for an improper purpose; and
                  (3) the fraudulent or improper use of the corporate form
                  caused injury to the claimant.

     Id. at 7 (citing Molinos Valle Del Cibao, C. por A. v. Lama, 633 F.3d 1330,

     1349 (11th Cir. 2011) (emphasis in original)). “Factors to be considered in

     piercing the corporate veil include, inter alia, failure to observe corporate

     formalities, nonpayment of dividends, nonfunctioning of other officers or

     directors, absence of corporate records, and fact that corporation is merely a

     facade for operations of dominant stockholder.” U.S. v. JBA Motorcars, Inc.,

     839 F. Supp. 1572, 1577 (S.D. Fla. 1993) (citing Solomon v. Klein, 770 F.2d

     352, 353-54 (3d Cir. 1985)).

           In the present case, Plaintiff includes 120 general allegations before

     setting forth the ten (10) counts in the Complaint. Within those allegations,

     Plaintiff discusses third parties unrelated to Defendants without delineating any

     connection solely in an attempt to make it appear as though Defendants were

     committing fraud “by association.” However, what is notably lacking is any

     actual statements demonstrating any actions by the individuals that could lead

     to piercing the corporate veil to find Defendants, BROWN and FRIEDMAN,

     liable for any damages that may have been caused as a result of Plaintiff’s

     relationship with the corporate Defendant. The only actual allegation within

                                            4
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 9 of 19




      the Complaint is set forth in paragraph 8 of the Complaint states as follows:

                        At all times material hereto, Mr. Brown and Mr. Friedman
                        were the officers, managers and control persons of the Fair
                        Credit Law collectively and maintained complete authority
                        and control over Fair Credit Law to the extent that Fair
                        Credit Law was the alter-ego and mere instrumentality of
                        Mr. Brown and Mr. Friedman.

      Within the 40 pages of the Complaint there are no other allegations

      demonstrating how BROWN and FRIEDMAN are the alter-egos of FCLG or

      how they used FCLG for an improper purpose. In fact, Plaintiff’s allegation

      is nothing more than boilerplate language in an effort to pierce the corporate

      veil. Without more, Plaintiff cannot pierce the corporate veil and include

      Defendants, BROWN and FRIEDMAN in the causes of action where FCLG

      is clearly the entity with whom Plaintiff contracted. See Wilchombe, 555 F.3d

      at 958; Jackson, 372 F.3d at 1263; Cummings v. Palm Beach County, 642

      F.Supp. 248, 249-50 (S.D.Fla.1986) (finding vague and conclusory complaint

      failed to state a factual basis for claims).

               Plaintiff’s counsel has made an effort to ‘throw everything at the wall to

      see what sticks’ to bring the individual Defendants into this case.1 Said

           1
            This is not the first time that Robert Murphy, Esq. has attempted to circumvent Florida law. In the case of
  Casa Inv. Co., Inc. v. Nestor, 8 So.3d 1219 (Fla. 3d DCA 2009) the Third District Court of Appeals reversed
  summary judgment in favor of Mr. Murphy’s client because Mr. Murphy attempted to circumvent Rule 1.510(c) of
  the Florida Rules of Civil Procedure by seeking entry of summary judgment without sufficient notice to the other
  party. In the case of Linden v. Auto Trend, Inc., 923 So.2d 1281, 1283 (Fla. 4th DCA 2006), the Fourth District
  Court of Appeals not only affirmed the trial court’ s ruling compelling arbitration despite Mr. Murphy’s claim that

                                                            5
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 10 of 19




       counsel’s own admission that he believes the assets lie with the individuals

       further demonstrates his ulterior motive in pursuing the individuals. However,

       Florida law provides that the corporate entities and individuals are separate and

       without showing more, Plaintiff cannot maintain her causes of action against

       Defendants, BROWN and FRIEDMAN. As such, the Complaint should be

       dismissed against the individuals.

       II.      The Complaint fails to state a cause of action in Counts I and II for
                violation of the Federal Credit Repair Organizations Act and the
                Florida Credit Service Organizations Act.

                Plaintiff’s Complaint fails to state a cause of action in Count I and II for

       violation of the Federal Credit Repair Organizations Act (“CROA”) and the

       Florida Credit Service Organizations Act (“CSOA”). In order to state a cause

       of action against Defendants for violation of CROA, Plaintiff must allege that

       Defendants “ ‘(1) used any instrumentality of interstate commerce, or the mails

       to (2) sell, provide, or perform (or represent that they could do so) (3) in return

       for valuable consideration (4) services or advice about services (5) for the

       express or implied purpose of improving a consumer's credit record, credit


   the court was required to have an evidentiary hearing before doing so, the Court went on to state that “[i]n this case,
   at the hearing on the motion to compel arbitration, [Mr. Murphy] failed to specify any issue that required an
   evidentiary hearing. [Mr. Murphy] talked in generalities. He answered the judge's questions with questions. . . .Mr.
   Murphy incorrectly assumed that an evidentiary hearing is always required once a motion to compel arbitration is
   filed.” Finally, in the case of Jackson v. Alexander, 706 So.2d 364 (Fla. 1st DCA 1998), Mr. Murphy’s client failed
   to post a bond pursuant to Florida Statutes §55.509 but still claimed that the efforts to collect on a foreign judgment
   should be stayed in direct conflict with Florida law.

                                                              6
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 11 of 19




      history, or credit rating.’” F.T.C. v. RCA Credit Serv., LLC, 727 F.Supp.2d

      1320, 1332 (M.D. Fla. 2010) (quoting Hillis v. Equifax Consumer Servs., Inc.,

      237 F.R.D. 491, 511 (N.D. Ga. 2006)); See also Bryson v. Berges, No. 14-

      62323, *9 (S.D. Fla. 2015). The definition of a credit service organzitation in

      CSOA is nearly identical to that in CROA. Id. at 9-10.

            In the present case, Plaintiff makes numerous allegations to infer that

      Defendant, FCLG, is a credit repair organization as defined by the CROA and

      CSOA. However, the exhibits attached to the Complaint actual contradict

      Plaintiff’s allegations. Nowhere in the Legal Services Agreement or other

      attached documentation exist any representations made to Plaintiff that

      Defendant, FCLG, would provide any services for the “express or implied

      purpose of improving a consumer's credit record, credit history, or credit

      rating.”   The only mention of credit in the Legal Services Agreement

      references that Defendant, FCLG, may dispute inaccuracies on Plaintiff’s

      credit report(s), if any exist, in an effort to dispute debts with those same

      creditors. When the exhibits to a complaint contradict the allegations set forth

      therein, the exhibits control and dismissal is appropriate. Griffin Industries,

      Inc., 496 F.3d at 1206; Associated Builders, Inc., 505 F.2d at 100. Thus, based

      upon the exhibits attached to the Complaint, Plaintiff cannot demonstrate that

                                             7
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 12 of 19




      Defendants ever represented that Defendant, FCLG, would improve her credit

      and Count I and II should be dismissed.

      III.   The Complaint fails to state a cause of action in Counts III and IV for
             violation of the Telemarketing Sales Rules.

             Plaintiff also fails to state a cause in Count III and IV of the Complaint

      for violation of the Telemarketing and Consumer Fraud and Abuse Prevention

      Act (“Telemarketing Act”) and the Florida Deceptive and Unfair Trade

      Practices Act (“FDUPTA”). The basis for both counts is Defendants’ alleged

      violation of the Telemarketing Sales Rules (“TSR”) as its applies to debt relief

      services. However, within the Complaint Plaintiff fails to allege, nor can she,

      that Defendants own or control the referral company. Based upon Plaintiff’s

      own allegations she spoke with a representative of a referral company who also

      sent her an e-mail listing the various panel member firms, not just Defendant,

      FCLG.

             Further, none of the exhibits attached to the Complaint demonstrate that

      Defendant, FCGL, agreed to provide Plaintiff with debt relief services

      subjecting it to the TSR as Plaintiff contends. “Debt relief service” refers to

      “any program or service represented, directly or by implication, to renegotiate,

      settle, or in any way alter the terms of payment or other terms of the debt



                                              8
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 13 of 19




      between a person and one or more unsecured creditors or debt collectors,

      including, but not limited to, a reduction in the balance, interest rate, or fees

      owed by a person to an unsecured creditor or debt collector.” 16 C.F.R.

      §310.2(o). The Legal Services Agreement with Defendant, FCLG, however,

      does not provide for debt relief services. Absent in the exhibits attached to the

      Complaint are any claims that Defendant, FCLG, intended to settle debts.

      Rather, Defendant states in the Legal Services Agreement that its lawyers will

      “validate, dispute and/or litigate or arbitrate” the consumer’s accounts.

            Additionally, no fees for settling accounts were requested to be held by

      FCLG in an effort to try and settle debts on Plaintiff’s behalf. Defendant’s

      attorneys may negotiate a settlement in the course of their representation, but

      that is not what Defendant, FCLG, was contracted to do on behalf of Plaintiff.

      Defendant’s employment was to challenge the debts in an effort to have the

      debts dismissed if possible. In fact, Plaintiff states in paragraph 26 of the

      Complaint the specific relief she was seeking and at no time does she state that

      requested debt relief services on her behalf. Therefore, Plaintiff’s causes of

      actions set forth in Count III and IV are also barred by the contradictory

      allegations and exhibits attached to the Complaint and should be dismissed.

      See Griffin Industries, Inc., 496 F.3d at 1206.

                                             9
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 14 of 19




      IV.   Counts V though IX of the Complaint should be dismissed based upon
            the contradictory exhibits attached to the Complaint.

            First, Plaintiff’s Count V for breach of contract and Count IX for unjust

      enrichment in the Complaint should be dismissed because the exhibits attached

      to the Complaint contradict the allegations set forth therein. Pursuant to

      Exhibit “H” attached to the Complaint, Plaintiff terminated the relationship

      because she no longer was able to pay for the services. Notwithstanding, she

      advised Defendant, FCLG, to close out her file by notifying the banks she is

      judgment proof and to keep the amounts she already paid. Plaintiff clearly did

      not seek a refund or any retribution from Defendant, FCLG, at that time. By

      her own admission in the letter, she believed Defendant was entitled to the

      amounts paid. Again, where the exhibits contradict the allegations set forth in

      the Complaint, the exhibits control. Id. Therefore, Counts V and IX should be

      dismissed.

            Second, Plaintiff’s Counts VI, VII and VIII for fraud, negligent

      misrepresentation and fraudulent inducement, respectively, should also be

      dismissed. Here, again, Plaintiff’s counsel is attempting to ‘throw everything

      at the wall to see what sticks.’ Within the 120 general allegations, Plaintiff

      only references four (4) representations by Defendants, those contained in



                                            10
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 15 of 19




      goodlifecredit.com, those contained on manta.com, one line contained in

      faircreditlawgroup.com and those contained in the exhibits to the Complaint.

      Plaintiff argues that these websites contain misrepresentations which induced

      Plaintiff to enter into the Legal Services Agreement with Defendant, FCLG.

      However, again, notably missing is any allegation whatsoever in the Complaint

      that Plaintiff reviewed any of these websites prior to entering into the Legal

      Services Agreement. In addition, goodlifecredit.com is a separate credit repair

      company owned by a third party and manta.com is an on-line small business

      service directory in control of its own content. To imply that Defendants

      should be held responsible for the representations set forth therein is excessive.

      Therefore, any such representations in the websites, based upon Plaintiff’s own

      allegations, could not have caused Plaintiff to enter into the Legal Services

      Agreement.

            With reference to the exhibits to the Complaint, the only alleged

      misrepresentation is that Defendant, FCLG, employs attorneys in other states.

      Pursuant to 8(c) of the Legal Services Agreement, Defendant, FCLG, states

      that in the event local law is involved with any matter, Defendant may employ

      local counsel, if necessary. Plaintiff signed the Legal Services Agreement

      which also states immediately above her signature that:

                                             11
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 16 of 19




                   CLIENT REPRESENTS THAT THEY HAVE READ
                   AND FULLY UNDERSTAND AND AGREE TO EACH
                   OF THE ABOVE TERMS AND CONDITIONS AND
                   ACKNOWLEDGE RECEIPT OF A COPY OF THIS
                   AGREEMENT.

      Accordingly, Plaintiff had both actual and constructive knowledge that

      Defendant, FCLG, employs, when warranted, attorneys to handle local legal

      matters when necessary. Plaintiff’s allegations therefore again contradict the

      exhibits and as such, Counts VI, VII and VIII should be dismissed. Id.

      V.    Count X of the Complaint should be dismissed because Plaintiff fails
            to state a cause of action for civil conspiracy.

            Finally, Count X for civil conspiracy also fails because Plaintiff cannot

      allege that more than one person conspired to charge Plaintiff an allegedly

      “unconscionable” legal fee because only Defendant, FCLG, charged the fees

      and as explained above, Plaintiff has failed to demonstrate Defendant,

      BROWN and FRIEDMAN, should be liable for the corporate actions. Further,

      “[a] cause of action for civil conspiracy should allege the scope of the

      conspiracy, its participants, and when the agreement was entered into.” Julin

      v. Chiquita Brands Int'l, Inc. (In re Chiquita Brands Int'l, Inc. Alien Tort

      Statute & Shareholder Derivative Litig.), 690 F. Supp.2d 1296, 1311 (S.D.

      Fla., 2010) (citing Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1268 (11th



                                            12
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 17 of 19




      Cir.2009)).   “A complaint may justifiably be dismissed because of the

      conclusory, vague and general nature of the allegations of conspiracy.” Id.

      (citing Fullman v. Graddick, 739 F.2d 553, 556-57 (11th Cir.1984)).

      Plaintiff’s Count X for civil conspiracy fails to delineate the specifics of the

      alleged agreement and therefore, Count X should be dismissed.

      VI.   The Complaint should be dismissed for a more definite statement.

            Finally, Plaintiff’s Complaint is filled with numerous sections and

      statements that have no relation to any of Defendants. Specifically, Plaintiff’s

      allegations concerning Edward Cherry, Paul Herman, goodlifecredit.com,

      manta.com and “Mr. Block” have no connection to the allegations set forth in

      the Complaint and therefore could have only been plead to attempt to infer

      nefarious connections between these third parties and prejudice the Court

      against Defendants. Where allegations are set forth in such a manner, as in this

      case, with a grouping of Defendants and third parties together to imply a

      relationship and various causes of action, the Complaint should be dismissed.

      Cellco P'ship v. Plaza Resorts Inc., No. 12-81238, 13 (S.D. Fla., 2013).

      “Lumping [parties] together creates confusion and makes the analysis of the

      Complaint unnecessarily burdensome, and results in [plaintiff] making

      accusations that are just not accurate.” U.S. Bank Nat'l Ass'n v. Capparelli, No.

                                             13
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 18 of 19




      13-80323, *5-6 (S.D. Fla., 2014) (citing Court Appointed Receiver of Lancer

      Offshore, Inc. v. Citco Grp. Ltd., 05-60080, *2 (S.D. Fla. Mar. 30, 2011)).

                                     CONCLUSION

            Based upon the foregoing it is abundantly clear that Plaintiff’s

      Complaint lacks the requisite factual allegations necessary to maintain the

      plausibility of its causes of action especially in light of the contradicting

      exhibits. Plaintiff’s Complaint is nothing more than a string of conclusory

      allegations and improper inferences attempting to find both the corporate

      Defendant and individual Defendants liable for the causes of action in contrast

      to existing Federal and Florida law. As a result Plaintiff’s Complaint must be

      dismissed for failure to state a cause of action in all of the Counts.




                                             14
Case 0:16-cv-61643-FAM Document 10 Entered on FLSD Docket 08/15/2016 Page 19 of 19




                           CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on the 15TH day of August, 2016, I

      electronically filed the foregoing document with the Clerk of Court using

      CM/ECF. I also certify that the foregoing document is being served this day

      on Robert Murphy, Esq., 1212 S.E. 2nd Avenue, Fort Lauderdale, Florida

      33316, rmurphy@lawfirmmurphy.com and rphyu@aol.com via transmission

      of Notices of Electronic Filing generated by CM/ECF.


                                     By: s/ Allison L. Friedman
                                         ALLISON L. FRIEDMAN, ESQ.
                                         ALLISON L. FRIEDMAN, P.A.
                                         20533 Biscayne Boulevard, Suite 4-435
                                         Aventura, Florida 33180
                                         (305) 905-2679 (Telephone)
                                         (305) 692-9387 (Facsimile)
                                          Ralfriedman@hotmail.com




                                           15
